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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )                  8:04CR309
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )        MEMORANDUM AND ORDER
                                              )
ARMANDO LARA-SALDANA                          )
                                              )
                     Defendant.               )

       This matter is before the court on initial review of Defendant’s “Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a person in Federal Custody”

(§ 2255 motion) (Filing No. 47).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a ' 2255 motion, and describes the initial review

process:

       The motion, together with all the files, records, transcripts, and
       correspondence relating to the judgment under attack, shall be examined
       promptly by the judge to whom it is assigned. If it plainly appears from the
       face of the motion and any annexed exhibits and the prior proceedings in the
       case that the movant is not entitled to relief in the district court, the judge
       shall make an order for its summary dismissal and cause the movant to be
       notified. Otherwise, the judge shall order the United States Attorney to file
       an answer or other pleading within the period of time fixed by the court or to
       take such other action as the judge deems appropriate.

The defendant pleaded guilty to Count I of the Information charging him with conspiracy

to distribute and possess with intent to distribute 500 grams or more of methamphetamine

in violation of 21 U.S.C. §§ 846, and Count II charging him with criminal forfeiture in

violation of 21 U.S.C. § 853. The defendant did not file a direct appeal.

       In his § 2255, motion defendant alleges four grounds for relief that are all based on

defendant’s contention that he was erroneously deprived of a three-point reduction in his

offense level for acceptance of responsibility.
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                                   DISCUSSION

       Aside from the issues of waiver, timeliness and procedural default, the record

refutes defendant’s arguments on their merits. The Revised Presentence Investigation

Report (PSR), which was accepted by the court, clearly accounted for the three-point

adjustment for acceptance of responsibility. (Filing No. 43.) Moreover, there is nothing

in the plea agreement stating that the government would seek a downward departure in

defendant’s sentence for cooperating with the government. (Filing No. 27.) And even if

defendant did cooperate with the government, it is within the government’s discretion to

determine whether to seek a sentencing departure on that basis. Fed. R. Crim. P. 35(b).

Therefore, it appears plainly from the face of the § 2255 motion and the record that the

defendant is not entitled to relief with respect to his claims. The claims are denied.

       IT IS ORDERED:

       1.     That the defendant’s Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing No. 47) is

denied;

       2.     A separate Judgment will be entered; and

       3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

defendant at his last known address.

       DATED this 22nd day of December, 2005.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge



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